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                                                                                          E-FILED
                                                              Thursday, 08 July, 2021 10:39:24 AM
                                                                    Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                          SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )   CASE NO: 19-CR-30067
                                            )
TODD SHEFFLER,                              )
                                            )
      Defendant.                            )

                                       ORDER

      On petition of Defendant, Todd Sheffler, and it appearing to the Court that:

             Tyler Shears
             Inmate #M49067
             Danville Correctional Center
             Warden Kim Larson
             3820 East Main Street
             Danville, Illinois 61834

is detained in the following institution:

             Danville Correctional Center
             3820 East Main Street
             Danville, Illinois 61834

and that this person’s presence is required for trial testimony in the Central District

of Illinois at151 U.S. Courthouse, 600 E. Monroe St., Springfield, Illinois 62701, at

the office of the U.S. Marshal’s Service, and will appear on August 3 at 9:00 a.m. for

trial testimony before the Honorable Sue Myerscough, courtroom 1.
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      IT IS THEREFORE ORDERED that the following custodian:

             Danville Correctional Center
             Warden Kim Larson
             3820 East Main Street
             Danville, Illinois 61834

      (1) Bring or cause to be brought before this Court, at the specified time and

on the specified date, before the Honorable Sue Myerscough, in the United States

Courthouse in Springfield, Illinois, the body of the specified person; to remain from

day to day in the custody of the U.S. Marshal’s Service until the completion of the

proceedings or as ordered by this Court;

      (2) That the custodian notify the court of any change in custody of this

inmate, and is ordered to provide the new custodian with a copy of this writ;

      (3) That a Writ of Habeas Corpus ad Testificand directed to the custodian be

issued by the Clerk of this Court; and,

      (3) That the Clerk of the Court is directed to serve a courtesy copy of this

order and Writ of Habeas Corpus ad Testificand on to the custodian at the

custodian’s address and the U.S. Marshal’s Service in Springfield, Illinois.


Entered this 8th day of July, 2021.


s/ Sue E. Myerscough
Sue E. Myerscough
United States District Judge
